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                             THE UNITED STATES DISTRICT COURT

                                      DISTRICT OF UTAH

 UNITED STATES OF AMERICA,
                                                     MEMORANDUM DECISION AND
                                                     ORDER CONTINUING TRIAL AND
                Plaintiff,
                                                     EXCLUDING TIME
                                                     UNDER THE SPEEDY TRIAL ACT
        vs.
                                                     Case No. 2:21-cr-00494-DBB
 Phillip Mahe Taufa,
                                                     District Judge David Barlow
                Defendant.


        This Order Continuing Trial and Excluding Time Under the Speedy Trial Act is

 entered in response to the outbreak of the Coronavirus Disease (COVID-19) in the District

 of Utah.

        On March 13, 2020, a National Emergency was declared in response to the nationwide

 outbreak, which the World Health Organization has declared a global pandemic. The court

 continues to monitor closely the state of the COVID-19 health crisis in Utah and around the

 nation. Utah and the nation remain in the midst of the most serious global pandemic in over a

 century. Globally, it is estimated that more than 315 million people have been infected, and

 over 5,500,000 have died from the disease. The Judicial Conference of the United States has

 found that emergency conditions due to the national COVID-19 crisis have affected and

 continue to materially affect the functioning of the federal courts.

       The Centers for Disease Control and Prevention (CDC) continues to issue guidance to

combat the spread of COVID-19 and to promote the health and well-being of the nation. This

guidance includes recommendations that all Americans avoid close contact with others (i.e.,


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being within six feet), among other things. There are nationwide now over 63 million confirmed

cases of Americans infected with COVID-19, and over 860,000 deaths. Utah has now confirmed

more than 715,000 cases, resulting in over 28,000 hospitalizations and more than 3,900 deaths.

COVID-19 test positivity rates remain above levels necessary to reduce community spread, and

infection rates are climbing. Daily case counts in Utah are near or above the highest point since

the pandemic began. COVID-19 test positivity rates in Utah suggest significant community

spread, and infection rates are climbing rapidly in response to the new Omicron variant.

          Taking into account all of the available and relevant data, including the numbers of daily

new cases and hospitalizations, test positivity rates, ICU capacity in Utah hospitals, the

availability of vaccines and the vaccination rates, the introduction and spread of several variants

of the COVID-19 virus with unknown implications, as well as enhanced treatment capabilities

for those infected with COVID-19, the court concludes the pandemic continues to present an

ongoing health emergency in Utah. Additionally, the Court has issued a number of General Court

Orders in response to the outbreak of COVID-19 in the District of Utah, which may be found on

the Court’s website at https://www.utd.uscourts.gov/united-states-district-court-district-utah-covid-

19-information-center. Most recently, General Order 22-004 announced the return to Phase 1 of

the court’s reopening plan vacating jury trials scheduled prior to February 14, 2022. It also

included findings and conclusions for an “ends of justice” exclusion of time through February

14, 2022 under the Speedy Trial Act.

          An “ends of justice” exclusion of time under the Speedy Trial Act is disfavored and “was

meant to be a rarely used tool for those cases demanding more flexible treatment.” 1 However,


 1
     United States v. Toombs, 574 F.3d 1262, 1269 (10th Cir. 2009).

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based on the ongoing nature of the COVID-19 outbreak in the District, the effect of national and

local public health recommendations and directives, and the findings and conclusions in General

Orders 20-009 through 20-012, 20-017, 20-020, 20-021, 20-026, 20-028, 20-029, 20-030, 20-

033, 21-001, 21-003, 21-007, 21-009, 21-012, 21-014, 21-015, and 22-004, it is necessary and

appropriate to continue trial in this case and exclude time under the Speedy Trial Act until such

time as the court moves to phase 2 of its reopening plan and this trial can be scheduled in the

special proceedings courtroom or until conditions improve such that the courthouse can

simultaneously host more than one petit jury at a time. The high number of COVID-19 cases and

deaths nationally, and in Utah, demand modifications in court practices to protect the public

health. Courts and court operations are necessarily social operations, involving many people.

       The need to protect the health of the public during a deadly pandemic outweighs the

rights of Defendant and the public to a speedy trial. Moreover, there is a significantly reduced

ability to obtain an adequate spectrum of jurors and available counsel, witnesses, and court

personnel to be present in the courtroom for trial. Empaneling a jury, conducting a trial, and

arranging jury deliberations, with due regard for health and safety, considering the broad

spectrum of participants and their contacts outside the court, is not currently possible in the

physical facilities available to the court for more than one trial at a time. Long exposure in

confined spaces, which is inherent in trial, increases risk of infection. Video and audio

conferencing, used for hearings, are not available for trials. Counsel’s ability to adequately

prepare for trial, including locating and consulting with witnesses, and defense counsel’s ability

to confer with Defendant, under these circumstances is also greatly reduced.




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         A failure to continue trial under these circumstances would result in a miscarriage of

justice 2 and would deny counsel for the government and Defendant the reasonable time

necessary for effective preparation, taking into account the exercise of due diligence. 3 Therefore,

the ends of justice served by such a continuance outweigh the best interests of the public and

Defendant in a speedy trial. 4 This continuance is not predicated on general congestion of the

court’s calendar or lack of diligent preparation by counsel. 5

                                              ORDER

         IT IS HEREBY ORDERED that the 4-day jury trial previously scheduled to begin on

February 4, 2022 is continued to the 4th day of March, 2022 at 9:00 a.m. Accordingly, the time

from the entry of General Order 20-009, March 16, 2020, and the new trial date is excluded from

Defendant’s speedy trial computation for good cause.

         SO ORDERED this 12th day of January, 2022.

                                                       BY THE COURT:



                                                      ______________________________
                                                      David Barlow
                                                      United States District Judge




2
  18 U.S.C. § 3161(h)(7)(B)(i).
3
  Id. § 3161(h)(7)(B)(iv).
4
  Id. § 3161(h)(7)(A).
5
  Id. § 3161(h)(7)(C).
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